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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

In re:                                          )    Chapter 11
                                                )
The Krystal Company , et al.,                   )    Case No. 20-61065 (PWB)
                                                )
         Debtors.                               )    Jointly Administered


  OBJECTION OF MISSISSIPPI POWER COMPANY TO PROPOSED CURE COSTS
  IN DEBTOR’S NOTICE TO CONTRACT PARTIES TO POTENTIALLY ASSUMED
            EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         Mississippi Power Company (“MPC”), by and through its undersigned counsel, objects to

the proposed cure amounts as stated in the Notice to Contract Parties to Potentially Assumed

Executory Contracts and Unexpired Lease [Dkt. No. 310] (“Cure Notice”) filed by the Debtors.

MPC files this objection in accordance with the Order (I) Approving Bidding Procedures for the

Sale of the Debtors’ Assets, (II) Scheduling Hearings and Objection Deadlines with Respect to

the Sale, (III) Scheduling Bid Deadlines and an Auction, (IV) Approving the Form and Manner

of Notice Thereof, (V) Approving Contract Assumption and Assignment Procedures, and (VI)

Granting Related Relief [Dkt. No. 227] (“Procedures Order”). In support of its objection, MPC

states as follows:

                                          BACKGROUND

         1.     On January 19, 2020, Debtors The Krystal Company, Krystal Holding, Inc., and

K-Square Acquisition Co., LLC (collectively, “Debtors”) filed voluntary petitions for Chapter 11

bankruptcy relief in this Court.

         2.     The Debtors’ cases are being jointly administered. Dkt. No. 33.

         3.     MPC provides electric service to the Debtors under several accounts at multiple

locations in the State of Mississippi.



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        4.    In accordance with the Final Order (I) Prohibiting Utilities from Altering,

Refusing, or Discontinuing Service on Account of Prepetition Invoices; (II) Deeming Utilities

Adequately Assured of Future Performance; (III) Establishing Procedures for Determining

Adequate Assurance of Payment; and (IV) Granting Related Relief [Dkt. No. 159] (“Utilities

Order”), MPC has continued to provide electric service to Debtors.

        5.    In addition, MPC and Debtors have entered into 11 prepetition lighting services

lease agreements (“Lighting Leases”) whereby MPC retains ownership in certain lighting

equipment located at Debtors’ restaurant locations, such as parking lot lighting equipment. True

and correct copies of the Lighting Leases are attached hereto as composite Exhibit A.

        6.    The Lighting Leases are unexpired.

        7.    On February 12, 2020, the Debtors filed the Debtors’ Motion for Entry of an

Order (I) Approving Bidding Procedures for the Sale of the Debtors’ Assets; (II) Scheduling

Hearings and Objection Deadlines with Respect to the Sale; (III) Scheduling Bid Deadlines and

an Auction; (IV) Approving the Form and Manner of Notice Thereof; (V) Approving Contract

Assumption and Assignment Procedures; and (VI) Granting Related Relief [Dkt. No. 148]

(“Procedures Motion”).

        8.    On March 4, 2020, the Court granted the Procedures Motion and entered the

Procedures Order.

        9.    On April 7, 2020, and in accordance with the Procedures Order, the Debtors filed

the Cure Notice.

        10.   As stated in the Cure Notice, the amount necessary to cure any default in the

Lighting Leases is $0 (“Proposed Cure Costs”). See Dkt. No. 310 at 21.




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         11.      In accordance with the Procedures Order, MPC’s objection to the Cure Notice

must:

         (i) be in writing; (ii) comply with the applicable provisions of the Bankruptcy
         Rules, the Complex Case Procedures, the Bankruptcy Local Rules for the
         Northern District of Georgia, and any order governing the administration of these
         chapter 11 cases; (iii) state with specificity the nature of the objection and, if the
         objection pertains to the proposed Cure Costs, state the cure amount alleged to be
         owed to the objecting Contract Counterparty, together with any applicable and
         appropriate documentation in support thereof; and (iv) be [timely] filed with the
         Court. . . .

Dkt. No. 227 at 8.

         12.      MPC objects to the Proposed Cure Costs as incorrect.

         13.      As of April 13, 2020, the Debtors were in default under the Lighting Leases in the

total amount of $13,433.51, including both prepetition and postpetition defaults, with costs

continuing to accrue monthly (“Actual Cure Costs”). The Actual Cure Costs are more fully

described in the spreadsheet attached hereto as Exhibit B.

         14.      MPC has submitted regular invoices to Debtors for payments due under the

Lighting Leases. True and correct copies of those invoices are attached hereto as composite

Exhibit C.

                                                     ARGUMENT

         15.      Section 365 of the Bankruptcy Code permits a debtor in possession,1 “subject to

the court's approval, [to] assume or reject any executory contract or unexpired lease. . . .” 11

U.S.C. § 365(a).

         16.      The debtor in possession may assign any assumed contract. 11 U.S.C. § 365(f).




        1
          Subject to certain limitations, “a debtor in possession shall have all the rights . . . and powers, and shall
perform all the functions and duties . . . of a trustee serving in a [Chapter 11] case. . . .” 11 U.S.C. § 1107(a).



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        17.     But prior to assumption, the debtor in possession must cure any defaults. 11

U.S.C. § 365(b)(1).

        18.     Whether there has been a default under the lease is a question of state law. See In

re A.R. Dameron & Assocs., Inc., 3 B.R. 450, 451-52 (Bankr. N.D. Ga. 1980) (holding “that in

order to cure the default in this lease the trustee must pay all amounts due under the lease”).

        19.     Under the terms of the Lighting Leases, the Debtors are required to make monthly

payments to MPC.

        20.     Under the terms of the Lighting Leases, the Debtors did not make at least one

prepetition payment for every lease and have not made any postpetition payments under the

Lighting Leases.

        21.     Therefore, the Debtors are in default under the terms of the Lighting Leases in the

total amount of $13,443.51, the Actual Cure Costs.

                                       RELIEF REQUESTED

        22.     Based upon the foregoing, MPC requests that the Court enter an order

                (i)    requiring the Debtors to pay the Actual Cure Costs of $13,443.51 plus

additional monthly payments that become due prior to any assumption or assignment of the

Lighting Leases; and

                (ii)   granting to MPC such other, further and additional relief as the Court

deems proper.




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       Respectfully submitted, this 27th day of April, 2020.

                                        /s/ Austin B. Alexander
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                                        Georgia Bar Number 926059
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                                        Admitted Pro Hac Vice

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                                 CERTIFICATE OF SERVICE

        I, the undersigned counsel, do hereby certify that I have on April 27, 2020, filed a copy of

the foregoing with the Court’s electronic filing system, which will serve a true and correct copy

of the above and foregoing pleading to all counsel of record.



                                                   /s/ Austin B. Alexander
                                                   Austin Alexander
                                                   Georgia Bar Number 926059




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